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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF KAI\SAS
                                                 (Kansas Cify)


    AKH COMPANY,INC.,
                                    Plaintiffl,

              vs.                                                       Case   No. I 3-cv-02003-JAR-KGG
    UNIVERSAL UNDERWRITERS
    INSURANCE COMPANY.

                                    Defendant.



              DECLARATION OF JAMES A. LOWE IN SUPPORT OF AKH'S MOTION
                       TO COMPEL PRODUCTION OF DOCUMENTS


              l.         I am a partner at Gauntlett &        Associates, attorneys for Plaintiff   AKH   Company

    lnc. in the above-captioned matter. The f,acts set forth in this declaration are of my own personal

    knowledge, and I could competently testiff to them if called as a witness.

              2.         The parties have agreed to serve and respond to discovery requests by email as

    shown in the Joint Planning Conference Report on page 9.

              3.        The Court entered a protective order to protect confidential information and to

allow for open exchange in the non-privileged documents in discovery. This protective order is

at0ached as         Exhibit "51.'

             4.         AKH served its            Second Request   for Production of Documents   on Universal on

october 31,2013 as shown in Exhibit                      "52." AKH agreed to give      Universal an extension to

December 9,2013 to respond to the Second Request.

             5.         AKH       requested that Universal produce         all electronically stored   information

("ESI") in native electronic format on December 13, 2013. This was because I learned from



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    Universal's early deposition witnesses that Universal and its parent Zurich only maintained

    records in electronic form.             I   also sent Universal's counsel a summary of District of Kansas ESI

    guidelines and case law favoring native form ESI discovery production in most circumstances.

    Those authorities stressed that native electronic production would be efficient, allowing

    convenient review and organization. In accord with a suggestion by Judge Gale, AKH proposed

    each party designate a technical liaison to address any technical issues that may exist with

    producing ESI in the requested format. A copy of these communications is attached as Exhibit

    $73."

              6.         Universal completely refused to provide any documents in native electronic form.

    Its counsel said that only paper copies of ESI would be produced. Universal asserted that

production          in   electronic format would be unduly burdensome, oppressive, and extremely

    expensive and asserted that its ESI was not stored in a reasonably accessible source. Universal

never provided any details to support its argument.                      It   also claimed that AKH had agreed to

Universal's production in any form of its choice. A copy of these communications is attached as

Exhibit "56." Furthermore, Universal rebuffed AKH's request to appoint technical liaisons to

determine what technical issues may exist with production in native electronic format. A copy                   of
these communications is attached as                   Exhibit "73."

             7.         Universal requested another extension of time to respond to the Second Request.

AKH expressed a desire to "be reasonable about [the] document production" but explained that

until Universal complied with AKH's request for production of ESI in native format, there would

be no firm answer.           A copy of the correspondence is attached           as   Exhibit ..69.,,

             8.        On December 20,2014,               ll   days after responses were due, Universal served its

first written objections and responses to AKH's Second Requests and produced some documents.




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    See   Exhibits 6'57" (the face page and certificate of service page) and Exhibit "62') (the cover

    letter of Universal's December 20th production of paper formatted documents). Universal

    served additional responsive documents on December 23,2013.                    A copy of this letter is attached

    as   Exhibit "67." Universal served additional documents on January 2 and 14,2014. A copy of

    these letters are attached as                Exhibits "68" and "66" respectively. Universal served    amended

    objections and responses to AKH's Second Request. A copy of relevant portions of that response

    are attached as Exhibit                    *58.'   Universal served approximately 600 additional pages of

    documents that          it   described as "inadvertently withheld" on February 12,2014        [Exhibit *59."1.
    All of Universal's written                 responses and document productions occurred after the extended due

    date of December             9,2013. universal never obtained any further extensions.

               9.         The parties have stipulated to a procedure for preparing privilege logs. This

    stipulation is attached as Exhibit "74." IJniversal has never produced any privilege log to date

    detailing its withheld documents and redactions in response to AKH's Second Request for

    Production of Documents.

               10.        The Second Request sought but Universal produced no documents in                      the

following categories:

                                 A.   checks paid to Paul Hastings relating to AKH's underlying claim (request

                                      #47). universal objected that these checks contained payments to paul

                                      Hastings for services rendered in other matters. A portion of Universal's

                                      response to the Second Request for Production, including request # 47 is

                                      attached as    Exhibit "60."

                                 B.   Documents that mention communications relating to Universal's duty to

                                      pay the defense costs of the RT Action (requests #20-21). Universal stated




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                                  that no responsive documents exist because Universal has no duty to

                                  defend. Counsel for   AKH clarified their request in a meet and confer letter

                                  stating that the oorequest seeks Universal's analysis of whether or not it had

                                  a duty to pay for the prosecution of the AKH action." Based on that

                                  clarification, AKH asked Universal to "provide responsive documents or

                                  indicate that none exist." A portion of Universal's response to the Second

                                  Request for Production, including requests # 20-21 is attached as    Exhibit

                                  "60." No documents have been produced.
              ll.       On January 23,2014, after multiple rounds of meeting and conferring with

    counsel for     AKH     as   well as an informal conference with the Magistrate Judge, Universal said it

    would produce some documents in a searchable PDF format [Exhibit..64."l.

              12.       But rather than providing the documents in the format AKH requested, Universal

    produced only scanned paper copies of the documents. The documents were produced in a few

    very large PDF files, each of which contained thousands of unlabeled pages. This left AKH no

    available means to search across the entirety of the documents and restrained AKH's ability to

    organize the documents in the way           it wanted. In this format, search capability is also limited to

single word inquiries. AKH never agreed to this type of production.

             13.       Universal's initial reasons for not producing in electronic format and their later

claimed inability to provide documents in the requested format were unsupported by any

explanation although Universal electronically reviewed its ESI before producing responsive

documents. Universal's counsel informed me that Universal had an e-discovery vendor using

Relativity to select and produce document requested by AKH but that counsel did not have




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 access to Relativity and had not contacted Universal's e-vendor                to obtain electronic files it had

 possibly stored after the search.

              14.      Universal's counsel indicated to me that Universal uses .tiff formatting and Lotus

 Notes, a type of email program to store some files. Files stored in these formats can be copied to

 a disk and viewed and can be searched with e-discovery programs such as Relativity, used by

 AKH and commonly used in federal litigation.l

             15.       AKH served its Third Request for Production of Documents on Universal                  on

 December 19, 2013 [Exhibit                  "53."1. It specified that document production was to be in
 electronic form. Universal's responses were due on January 23,2014. Universal did not serve

 its written objections and responses until January 31,2014. A portion of Universal's response to

 AKH's Third Request for Production of Documents containing relevant responses is attached as

 Exhibit "61." Universal did not                 serve the documents allegedly responsive to the Third Request

until February 12,2014. A copy of the cover letter is attached as Exhibit..7l." Universal never

obtained any extensions.

             16.      To date, Universal has not produced any privilege log detailing its withheld

documents and redactions in response to AKH's Third Request.

             17.      The Third Request sought but did not receive the following categories of

documents:

                           A. Complaints received by Universal involving different factual            scenarios

                               that are relevant to the present case (requests #41-45 and               47-49).

                               Universal refused to produce the requested complaints.




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                              B. The complete personnel files of          supervisors that handled the claims

                                    underlying the AKH complaint. (requests #98-99). Universal refused to

                                    provide the information claiming that the information was irrelevant and

                                    not reasonably calculated to lead to discoverable evidence. Universal also

                                    claimed it invaded the employees' privacy and confidentiality.

                              C. All claims manuals and      management directives (requests #5-29 and       9l-
                                    92). Universal stated in its response that it would produce guidelines and

                                    best practices manuals in effect at the time of the   AKH claim. A copy of

                                    universal's response is attached as Exhibit "61." Universal has produced

                                    the zurich Defense counsel guidelines, the Litigation Bill          Review

                                    Departmental Best Practices, the Records Management policy/retention

                                    schedule, and the zurich Basics   -   code   of conduct. But Universal has
                                   produced no claims or best practice manuals.

                             D. Information on training of claims handlers from 2007 through the present

                                   (request #31). Universal stated that it would turn over training materials. A

                                   copy of universal's response is attached as Exhibit 6.61." Universal has

                                   only produced brief training logs for Jena palmer and stephanie cole but

                                   there is no detail about the content of training courses taken by them or

                                   other involved claims personnel.

              18.       Some categories       of   documents Universal agreed      to produce from the Third
Request remain undelivered:




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                               A. Universal       agreed   to produce any state insurance department complaints

                                     from California and Kansas from 2011-2012 (request #80). None                have

                                     been produced.

                               B. Universal       agreed    to   produce   its   corporate by-laws and articles of

                                     incorporation from January 2007 through the present (request #82). A

                                     copy of Universal's response is attached as Exhibit "61." None have been

                                     produced.

                               C. Universal agreed to produce its certification of compliance with                 the

                                    requirements    of the California      Department   of Insurance from      January

                                    2007 through the present (request #83).        A copy of Universal's   response is

                                    attached as   Exhibit "61." Nothing     has been produced.

                               D. Universal      agreed to produce documents prepared as a result of any reports

                                    of   state insurance department examinations (request #86).            A   copy of

                                    Universal's response is attached as Exhibit ..61." Nothing has been

                                    produced.

                               E. Universal agreed to produce documents issued by the california
                                    Department      of   Insurance from January 2007 through the present

                                    consisting of or titled "Market conduct Examination Reports" (request

                                    #87). A copy of Universal's response is attached as      Exhibit 6'6r." Nothing

                                    has been produced.

                              F.    Universal agreed to produce documents filed with the Kansas Insurance

                                    Department from 201I and 2012 (request #93).            A   copy of universal's

                                   response is attached as    Exhibit "61." Nothing has been produced..



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                               G. Universal         stated that   it   already turned over all documents supporting its

                                     affirmative defenses (requests #104-105). A copy of Universal's response

                                     is   attached as    Exhibit "61." Universal has failed to identifv which

                                     documents those are.

               19.        Abiding by Judge Gale's suggestion, AKH is now only requesting the first and

    last five complaints received by Universal during the 201I-2013 time period that are factually

    similar to the underlying RT Action (requests #41-45 and 47-49). This correspondence is

attached as           Exhibit '(63." Universal            has not provided any documents            in response nor has it

proposed any alternatives.

              20.        AKH served its Fourth Request for Production of Documents on Universal                         on

January         9,2014. This            request specified that documents were to be           in native electronic form.

This request included Zurich within the definition of "UNIVERSAL." A copy of AKH's Fourth

Request for Production of Documents is attached as Exhibit                           "54."   Universal's responses were

due on February 13,2014. Universal timely served its written objections and responses to                          AKH's

Fourth Requests. Universal's response objects to the production                                of   documents   in   native

electronic format on the same grounds discussed above. It also objects to Zurich's inclusion in

the definition of "UNIVERSAL." Universal has not yet produced any documents in response.

Universal never moved for any extensions. Universal's responses are attached as Exhibit "70."

              21.        Universal failed to produce the following documents in response to the Fourth

Request [Exhibit "T 0"1;

                               A.   Documents revealing the name of cases, case numbers, and attorney fee

                                    rates      for lawsuits filed against Universal and Zurich policyholders         since

                                    2001 (requests #l-2). Universal has agreed to produce the requested




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                                         information during the period Paul Hastings acted as defense counsel

                                         (r2/9/rr-r2/3r/r2).

                                 B.      Rates paid to Paul Hastings (request #3). Universal refused to disclose this

                                         information.

                                 C. Communications between various Universal andZurich employees                and all

                                         communications relating to    AKH (requests #5-12). Universal claims it
                                         produced this information already.

                                 D. Attorney rates Zurich paid between          January 2001 and the present (request

                                         #13). Universal responded that    it   would provide rates paid to defend

                                         Universal policyholders in similar lawsuits pending in the Central District

                                         of California from l2l9lll to l2l3l/12. AKH offered to compromise,
                                         requesting only rates from May of 2007 to the present. Universal produced

                                         nothing.

              22.        AKH            has requested   all documents in Universal's claim file for AKH's claim in

the underlying RT Action (request #13 of the Second Request seeks Universal's claims file for

the AKH claim on the RT Action and requests #1-4 of the Third Request seek more specific

types of documents making up Universal's claims file for AKH's claim on the RT Action).

Copies of AKH's requests are attached as Exhibits 6652r" tt53," and                          "54.t'   Numerous other

AKH requests seek specific parts of the claims file. Examples are attached                     as   Exhibit "75."

              23.        Universal has responded to these requests by providing portions of its claims file,

withholding thousands of documents and extensively redacting disclosed documents. Examples

of redacted documents are attached as Exhibit "72." Universal says it will not produce these

undisclosed documents or redacted portions asserting attorney-client privilege and the work




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    product doctrine. A copy of Universal's responses making these claims is attached as Exhibit

    "70.)'     Universal has promised to provide a privilege log detailing the documents withheld

    [Exhibit "74."f No privilege log has been provided. Validity of privilege claims cannot               be

    determined without a privilege log.

              24.       Universal disclosed to AKH that it has two distinct files relating to AKH. One

    contains Universal's correspondence prior to the commencement of the coverage suit. The other

    contains information accumulated by Universal after the suit was filed. Universal's initial

    communication with AKH acknowledged its duty to defend in the RT Action subject to its

    reservation of rights on the "prior publication" issue. Universal's January 5, 2012 letter to      AKH

    is attached as Exhibit          *5." AKH remained    in contact with Universal throughout the underlying

    litigation and defense counsel made regular reports to Universal's claims adjuster. Universal

hired outside coverage counsel while the underlying action was ongoing. Those outside attorneys

participated in Universal's regular claims handling process, for example reviewing and revising

settlement agreements between AKH and RT.

              25.       Universal first informed AKH of its intention to pursue a coverage suit when

Universal notified AKH that                 it   would pay the settlement and then seek reimbursement.

Universal's counsel's letter of December 28.2012 is attached as Exhibit K44.,,

             26. I sent a meet and confer letter to Universal's counsel, Karen Bizzini, seeking
fuither responses to the 2n0,3'd, and 4th requests for production on February 18,2014. [Exhibit

*55."1 In a telephone discussion on February 25 Ms. Bizzini              said   that Universal would produce

no further documents, would produce no electronic versions of Universal's ESI and insisted on

the limits on production that Universal previously asserted. Ms. Bizzini said that her office had

mailed me on February 21, 2014 a computer disk containing some additional documents,




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 specifically claims manual type documents (claimed to be responsive to requests #5-79 and                 9l-

 92 ofthe 3rd Request for Production) and documents Universal filed with or received from the

 Kansas Department                 of Insurance (claimed to be responsive to requests #83 and # 93 of the 4th

 Request for Production). As of February 25,2014 no such disk had arrived at our office.

            27.        During the February 25,2014 meet and confer telephone conference, Ms. Bizzini

 refused to change Universalls position on any other document production requests and refused to

produce any documents discussed in my February 18,20l4meet and confer letter. She did agroe,

however, to "review again" Universal's refusal to identi$ the documents responsive to requests

#   104 and 105 of the 3rd Request for Production (document supporting Universal's              4fth   and 41st

affirmative defense).

           T   declare undbr penalty of perjury under the laws of the United States       ofAftefica that tht

foregoing is true and correct

           Executed at Irvine, California on this 27th day of February,2014.




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Dated: February 28,2014
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                                             CERTIFICATE OF SERVICE

             I hereby certify that on February 28,2014,I electronically filed the foregoing   document

with the clerk of the court by using the CM/ECF system, which will send a notice of electronic

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